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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

George E. Norcross, III, Gregory B.      :
Braca, and Philip A. Norcross,           :
                    Plaintiffs,          :
                                         :   CIVIL ACTION
             vs.                         :   NO. 22-cv-04953 (BMS)
                                         :
Republic First Bancorp, Inc., Harry      :
Madonna, Andrew B. Cohen, Lisa
Jacobs, Harris Wildstein, Peter B.       :
Bartholow, and Benjamin C. Duster,       :
IV,                                      :
                                         :
                    Defendants.          :
                                         :
                                         :
                                         :
       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs George E.

Norcross, III, Gregory B. Braca, and Philip A. Norcross (“Plaintiffs”) respectfully

move this Court for an order enjoining Defendants Republic First Bancorp, Inc.,

Harry Madonna, Andrew B. Cohen, Lisa Jacobs, Harris Wildstein, Peter B.

Bartholow, and Benjamin C. Duster, IV (“Defendants”) as set forth in the attached

Proposed Orders.

      The bases for this motion are set forth in Plaintiffs’ accompanying

memorandum of law, Declaration of Laura E. Krabill, Esq., and attached exhibits,

including the Motion for Preliminary Injunction, Memorandum of Law in Support

thereof, Declaration of Philip A. Norcross in support thereof, and exhibits to the
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Norcross Declaration, all of which were filed in the Court of Common Pleas for

Philadelphia County before removal of the action to this Court and all of which are

incorporated herein by reference.

      WHEREFORE, Plaintiffs respectfully request that the Court enter the

attached Proposed Order granting a preliminary injunction, and grant such other and

further relief as the Court deems just and proper.




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Dated: December 19, 2022           Respectfully submitted,

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